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IN THE UNITED sTATEs DISTRICT COURT ;.}Lf.~_»r, _`J]CW
FoR THE WESTERN DISTRICT oF TENNESSEE ` ~ ‘ -- D-C.
WESTERN DIvIsIoN

 

 

 

UNITED STATES OF AMERICA ) CLEHK q f,;{:g§l}m
Plaintiff, §
VS § CASE NO. 2:04CR20424-M1
DERRICK THOMAS §
Defendant. ))
)
ORDER TO SURRENDER

 

The defendant, Dern'ck Thornas, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Deuie Road, Memphis, TN 38134 by 2:00 p.m. on WEDNESDAY, AUGUST
31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Ofiice of the Clerk, Federal Off'ice Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the § day of August, 2005 .

m rlth
J PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

This document entered on the docket bae in compliance
with Hule 55 and/or 32(b) FHCrP on

   

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

  
 

 

UN1TED sTEsAT D1STR1CT COURT - WRESTE 1)181R1CT TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:04-CR-20424 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Carroll L. Andre

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Honorable J on McCalla
US DISTRICT COURT

